                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 3:05-CR-253-RJC-DCK
                                             )
               vs.                           )                 ORDER
                                             )
GRICELDA TAX CRUZ                            )



       This matter having come before the Court on the Motion to Dismiss filed by the United

States of America, and the Court being sufficiently advised,

       IT IS HEREBY ORDERED that the Motion of the United States is GRANTED and the

Indictment filed on June 27, 2005 is dismissed without prejudice.



                                                 Signed: September 2, 2011




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